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       II.     Rule 16 Requires Electronic Production of the Videos And There Is No
               Good Cause to Withhold Production

         Rule 16 requires the electronic production of these videos. Specifically, Rule
16(a)(1)(E) provides that “the government must permit the defendant to inspect and to copy
. . . data” that is “within the government’s possession, custody, or control” and that is
“material to preparing the defense.” (emphasis added)). As direct evidence undermining
the “core” of the government’s case, see 9/18/24 Tr.13 (“Freak-off activity is the core of
this case.”), these videos are unquestionably material. See United States v. Clarke, 979
F.3d 82, 97 (2d Cir. 2020) (“Evidence is material if it could be used to counter the
government’s case or to bolster a defense.”) (cleaned up); United States v. Stevens, 985
F.2d 1175, 1180-81 (2d Cir. 1993) (same); see also United States v. Urena, 989 F. Supp.
2d 253 (S.D.N.Y. 2013) (Rule 16 burden for materiality is “not heavy”).

        The Court’s authority to enter or modify a protective order stems from Rule
16(d)(1), which provides that, “[a]t any time the court may, for good cause, deny, restrict,
or defer discovery or inspection, or grant other appropriate relief.” See also In re Terrorist
Bombings of U.S. Embassies in E. Afr., 552 F.3d 93, 122 (2d Cir. 2008) (explaining that
Rule 16(d) grants district courts the discretion to establish conditions “under which the
defense may obtain access to discoverable information”). Under Rule 16(d), the party
seeking a protective order “has the burden of showing that good cause exists for issuance
of that order,” and “good cause remains the standard even where parties consent to a
stipulated protective order.” See United States v. Smith, 985 F. Supp. 2d 506, 522-23
(S.D.N.Y. 2013) (cleaned up). “A party can demonstrate good cause for the issuance of a
protective order when a party shows that disclosure will result in a clearly defined, specific
and serious injury—such as compromising the privacy interests of innocent third parties,
causing a risk of harm to law enforcement or others, or impeding ongoing government
investigations.” United States v. Jackson, No. 21-CR-537-LTS, 2022 WL 582700, at *2
(S.D.N.Y. Feb. 25, 2022) (cleaned up).

        The government cannot meet its burden. There is no good cause to prevent the
electronic production of these highly exculpatory videos. Because this case does not
involve classified information or child pornography, there is no authority to restrict defense
counsel’s possession, review, and analysis of the videos. See 18 U.S.C. § 3509(m) (Walsh
Act restrictions on discovery of child pornography); 18 U.S.C. app 3 § 4 (Classified
Information Procedures Act restrictions on discovery). Nothing in the Crime Victim’s
Rights Act provides similar discovery restrictions or an exception to Rule 16. See 18
U.S.C. § 3771(a)(8).

        Moreover, any concerns regarding Victim-1’s privacy interests are adequately
protected by the remaining provisions of the Protective Order. “[T]here is no greater risk
in granting defense counsel a copy of the files for the preparation of its defense under a
suitable protective order than exists in the government’s maintenance and use of the files
in preparation of its own case.” United States v. Cadet, 423 F. Supp. 2d 1, 3 (E.D.N.Y.

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extent of such protection, courts should weigh the impact this might have on a defendant’s
due process right to prepare and present a full defense at trial.”). Even interests as strong
as the state-secrets privilege—a much greater interest than the purported interest here—
“must,” in certain cases, “give way … to a criminal defendant’s right to present a
meaningful defense.” United States v. Abu-Jihaad, 630 F.3d 102, 141 (2d Cir. 2010).

                                      *      *        *


       Because there is no good cause to restrict defense counsel’s access to the videos,
and because the videos must be disclosed pursuant to Brady and Rule 16, we respectfully
request that the Protective Order be modified to require the government to electronically
produce the videos                            to Mr. Combs’ counsel with the “Attorney’s
Possession Only” designation under the Protective Order.


                                                 Respectfully submitted,




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